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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-01108-KAS

  BARRY MORPHEW,

        Plaintiff,

  v.

  CHAFFEE COUNTY, Colorado,
  BOARD OF COUNTY COMMISSIONERS OF CHAFFEE COUNTY, Colorado,
  CHAFFEE COUNTY SHERIFF’S DEPARTMENT,
  LINDA STANLEY, District Attorney, in her official and individual capacities,
  JOHN SPEZZE, Chaffee County Sheriff, in his official and individual capacities,
  SCOTT HIMSCHOOT, Chaffee County Sheriff’s Deputy,
  ANDREW ROHRICH, Chaffee County Undersheriff,
  ALEX WALKER, Eleventh Judicial District Attorney’s Office Investigator,
  JEFFREY LINDSEY, Deputy District Attorney,
  ROBIN BURGESS, Chaffee County Sheriff’s Detective,
  RANDY CARRICATO, Chaffee County Sheriff’s Deputy,
  CLAUDETTE HYSJULIEN, Chaffee County Sheriff’s Sergeant,
  WILLIAM PLACKNER, Chaffee County Sheriff’s Sergeant,
  JOHN CAMPER, Colorado Bureau of Investigation Director,
  JOSEPH CAHILL, Colorado Bureau of Investigation Agent,
  MEGAN DUGE, Colorado Bureau of Investigation Agent,
  CAITLIN ROGERS, Colorado Bureau of Investigation Agent,
  DEREK GRAHAM, Colorado Bureau of Investigation Agent,
  KEVIN KOBACK, Colorado Bureau of Investigation Agent,
  KIRBY LEWIS, Colorado Bureau of Investigation Agent,
  CHRIS SCHAEFER, Colorado Bureau of Investigation Deputy Director of Investigations,
  JONATHAN GRUSING, Federal Bureau of Investigation Agent,
  KENNETH HARRIS, Federal Bureau of Investigation Agent, and
  JOHN/JANE DOES 1-10, and other unknown employees of the Eleventh Judicial
  District Attorney, and other unknown officers of the Chaffee County Sheriff’s
  Department,

       Defendants.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KATHRYN A. STARNELLA
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          This matter is before the Court sua sponte. This case was recently reassigned to
  me following the retirement of Magistrate Judge Kristen L. Mix. Although I am fully
  confident that I am able to fairly, impartially, and disinterestedly adjudicate any issues that
  may come before me in this matter, 28 U.S.C. § 455(a) instructs that a Magistrate Judge
  “shall disqualify [her]self in any proceeding in which [her] impartiality might reasonably be
  questioned.”

        During the year prior to my appointment to the bench, I worked in the same work
  group as attorneys Jennifer Hunt and Kathleen Spalding at the Colorado Attorney
  General’s Office. Therefore, I hereby recuse myself from this matter in order to avoid the
  appearance of impropriety. Accordingly,

        IT IS HEREBY ORDERED that the Clerk of Court shall reassign this case to
  another judicial officer.

         Dated: August 14, 2023




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